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AO 245B(Rev. 09/19) Judgment in a Criminal Case

                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Nebraska

                UNITED STATES OF AMERICA                                JUDGMENT IN A CRIMINAL CASE

                                     v.
                                                                        Case Number: 8:22CR222-001
                                                                        USM Number: 23549-510

                           MARK BERNAL                                  Mallory Hughes
                                                                        Defendant’s Attorney



THE DEFENDANT:
☒ pleaded guilty to count I of the Indictment.
☐ pleaded nolo contendere to count(s) which was accepted by the court.
☐ was found guilty on count(s) after a plea of not guilty
The defendant is adjudicated guilty of these offenses:
 Title & Section& Nature of Offense                                            Offense Ended                               Count
 18:2250(a) FAILURE TO REGISTER                                                September 20, 2022                          I

        The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☐ Count(s) dismissed on the motion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant shall notify the court and United States attorney of any material change in the defendant’s
economic circumstances.
                                                                            September 7, 2023
                                                                            Date of Imposition of Sentence:




                                                                          Brian C. Buescher
                                                                          United States District Judge

                                                                          September 11, 2023
                                                                          Date
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                                                     IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of    five (5) months.

☒The Court makes the following recommendations to the Bureau of Prisons:

    1. That the defendant be incarcerated in FPC-Yankton, Yankton, South Dakota or FCI-Englewood, Littleton,
       Colorado.
    2. Defendant should be given credit for time served.
    3. That the defendant be allowed to participate in a Sex Offender Treatment Program.
    4. That the defendant be allowed to participate in vocational and educational training while incarcerated.
☐The defendant is remanded to the custody of the United States Marshal.

☐The defendant shall surrender to the United States Marshal for this district:
          ☐ at
          ☐ as notified by the United States Marshal.
☒The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          ☒ no earlier than 2:00 p.m. on November 6, 2023.
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                          RETURN

I have executed this judgment as follows:


        Defendant was delivered on ___________________________ to ______________________________________
at ________________________________, with a certified copy of this judgment.

                                                                    ________________________________________
                                                                           UNITED STATES MARSHAL

                                                                    BY: ___________________________________
                                                                          DEPUTY UNITED STATES MARSHAL
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                                                  SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of two (2) years.

                                                MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
   release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
   ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
        substance abuse. (check if applicable)
4. ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
   sentence of restitution. (check if applicable)
5. ☒You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6. ☒You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901,
   et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the
   location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7. ☐You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on
the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.

1.        You must report to the probation office in the federal judicial district where you are authorized to reside within 72
          hours of your release from imprisonment, unless the probation officer instructs you to report to a different probation
          office or within a different time frame.
2.        After initially reporting to the probation office, you will receive instructions from the court or the probation officer
          about how and when you must report to the probation officer, and you must report to the probation officer as
          instructed.
3.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
          permission from the court or the probation officer.
4.        You must answer truthfully the questions asked by your probation officer.
5.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about
          your living arrangements (such as the people you live with), you must notify the probation officer at least 10 days
          before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
          you must notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
          probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
          view.
7.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
          excuses you from doing so. If you do not have full-time employment you must try to find full-time employment,
          unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
          your work (such as your position or your job responsibilities), you must notify the probation officer at least 10 days
          before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
          circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
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      change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know
      someone has been convicted of a felony, you must not knowingly communicate or interact with that person without
      first getting the permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
      hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
      anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
      person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
      informant without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation
      officer may require you to notify the person about the risk and you must comply with that instruction. The probation
      officer may contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at: www.uscourts.gov.

 Defendant’s Signature                                                                 Date
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                                            SPECIAL CONDITIONS OF SUPERVISION

f.       You must attend, successfully complete, and pay for any mental health diagnostic evaluations and treatment or
         counseling programs as directed by the probation officer.

l.       You must pay a fine in the amount of $5,000 to the Clerk of the U.S. District Court, 111 S. 18th Plaza, Suite 1152,
         Omaha, Nebraska 68102-1322. This amount is due immediately.

         Without limiting the foregoing, and following release from prison, you must make payments to satisfy the criminal
         monetary penalty in the following manner: (a) monthly installments of $100 or 5% of your gross income, whichever
         is greater; (b) the first payment shall commence 30 days following your discharge from incarceration, and continue
         until the criminal monetary penalty is paid in full; and (c) you are responsible for providing proof of payment to the
         probation officer as directed.


n.       You must provide the probation officer with access to any requested financial information.

p.       You must attend, successfully complete, and pay for an approved cognitive-behavioral based program, as directed
         by the probation officer.

ii.      You must submit your person, residence, property, office, vehicle, papers, computer, other electronic
         communication or data storage devices or media, and effects to a search conducted by a probation officer at any
         time; failure to submit to a search may be grounds for revocation; You must warn any other residents that the
         premises and any shared devices may be subject to searches pursuant to this condition.

pp.      You must have all residences and employment pre-approved by the probation officer ten (10) days prior to moving
         or changing employment. You must comply with any residency restriction ordinances in the city where you reside.

rr.      You must undergo a sex offense-specific evaluation and participate in a sex offender treatment and/or mental health
         treatment program approved by the probation officer. You must abide by all rules, requirements, and conditions of
         the sex offender treatment program(s), including submission to polygraph testing. You must sign releases of
         information to allow all professionals involved in your treatment and monitoring to communicate and share
         documentation. You must pay for these services as directed by the probation officer.

zz.      You must report to the Supervision Unit of the U.S. Probation Office for the District of Nebraska between the hours
         of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402) 661-7555, within seventy-
         two (72) hours of being placed on probation or release from confinement and, thereafter, as directed by the probation
         officer.
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                                                CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties in accordance with the schedule of payments set forth
in this judgment.

                  Assessment             Restitution    Fine         AVAA Assessment*               JVTA Assessment**
 TOTALS           $100.00                               $5,000

☐ The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO245C) will be entered
  after such determination.

☐ The defendant must make restitution (including community restitution) to the following payees in the amount listed
  below.

   If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
   specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i),
   all nonfederal victims must be paid before the United States is paid.

       Name of Payee                    Total Loss***                   Restitution Ordered                 Priority or Percentage



 Totals


☐ Restitution amount ordered pursuant to plea agreement $

☒ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
  before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
  Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

☐ The court determined that the defendant does not have the ability to pay interest and it is ordered that:

   ☐ the interest requirement is waived for the ☐ fine ☐ restitution

   ☐ the interest requirement for the ☐ fine ☐ restitution is modified as follows:

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A   ☒ Lump sum payment of $100.00 due immediately, balance due
      ☐      not later than _____, or
      ☒      in accordance with       ☐ C, ☐ D, ☐ E, or ☒ F below; or

B   ☐ Payment to begin immediately (may be combined with ☐ C, ☐ D, or ☐ F below); or

C   ☐ Payment in equal ____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
      to commence _____ (e.g., 30 or 60 days) after the date of this judgment; or

D   ☐ Payment in equal _____ (e.g., weekly, monthly, quarterly) installments of $ _____ over a period of _____ (e.g., months or years),
      to commence ______ (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E   ☐ Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F   ☒ Special instructions regarding the payment of criminal monetary penalties:
         The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay said sum immediately
         if he or she has the capacity to do so. The United States may institute civil collection proceedings at any time to satisfy all or
         any portion of the criminal monetary penalty.

         Without limiting the foregoing, and following release from prison, the defendant shall make payments to satisfy the criminal
         monetary penalty in the following manner: (a) monthly installments of $100 or 5% of the defendant’s gross income, whichever
         is greater; (b) the first payment shall commence 30 days following the defendant’s discharge from incarceration, and continue
         until the criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing proof of payment to
         the probation officer as directed.

         All financial penalty payments are to be made to the Clerk of the U. S. District Court, 111 S. 18th Plaza, Suite 1152, Omaha,
         NE 68102-1322.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

☐        Joint and Several

            Case Number                                       Total Amount                 Joint and Several         Corresponding Payee,
            Defendant and Co-Defendant Names                                                   Amount                    if appropriate
            (including defendant number)


☐        The defendant shall pay the cost of prosecution.

☐        The defendant shall pay the following court cost(s): _____

☐        The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
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CLERK'S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a document which was electronically filed with the United States District
Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
